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                           UNITED STATES DISTRICT COURT
                           SOU THEM D ISTRICT O F FLO RIDA

                              CASE NO.11-20100-CR-SE1TZ

 U N ITED STATES OF AM ERIC A,



 JA M ES ED W ARD S,
                                  /


                O R DE R A FFIR M IN G R EPO R T & R EC O M M EN D AT IO N


       ThismatterisbeforetheCourtontheReportandRecommendation(R&R)oftheHonorable
 PeterR.Palermorecomm endingthattheCJA VoucherofFranzA.Parke,Esq.forfeesandexpenses

 inthetotalam ountof$19,820.15bereducedto$19,703.86.TheCourthasreview edJudgePalerm o's

 R&R and no objectionshavebeen sled. Therefore,based on adenovo review oftheevidence
 presented,itishereby

       ORDERED thatthe above-mentioned Reportand Recomm endation ofM agistrate Judge

 Palerm o beAFFIRM ED and madetheOrderoftheDistrictCourtasfollows:FranzParkeshallbe

 paid $19,703.86 asfaircompensation forhiswork on thiscase.
       DONE AND ORDERED inMiami,FloridathisX             dayofJanuary, 2013.

                                                                 %.




                                         PA TRICIA A .S TZ
                                         UN ITED STA TES DISTRICT JU DG E

 Copiesto:
 The Honorable PeterR.Palerm o
 Franz Parke,Esq.
 Lucy Lara,CJA A dm inistrator
